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                    UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re                                                 :      Chapter 13

PAOLO RIZZI and PATRIZIA RIZZI                        :

                     Debtor                           :      Bankruptcy No. 11-15237bf

                               .................................................

                                                ORDER

                               .................................................


              AND NOW, this 19th day of January 2012, upon motion of the debtor to

avoid an alleged judicial lien held by Alex and Nicole Drum on real property identified as

located at 909 Jamestown Road, Broomall, Pennsylvania,

              And the debtor having asserted that the alleged lien is subject to avoidance

pursuant to 11 U.S.C. § 522(f)(1)(A) or (B),

              And the debtor having certified that adequate notice of the motion was sent

to the lienholder and that no answer or other response to the motion has been filed,

              Accordingly, it is hereby ordered that the motion is granted by default and

the judicial lien on real property held by Alex and Nicole Drum, if any, on the

aforementioned property is avoided.



                                                       __________________________________
                                                                    BRUCE FOX
                                                           United States Bankruptcy Judge

Copies to:

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Mr. Alex Drum
Mrs. Nicole Drum
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